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TAB 9
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Richard A. Feldman R.Ph. HIGHLY CONFIDENTIAL —_— November 18, 2005
. Quincy, MA

—

STATE OF CONNECTICUT

SUPERIOR COURT , COMPLEX LITIGATION

#x07 CV-XX-XXXXXXX-S (CLD) DOCKET at TOLLAND

STATE OF CONNECTICUT, - )

Plaintiffs, })
)
vs. o  )
)
DEY, INC., ROXANE | yo

LABORATORIES, INC.; WARRICK )
PHARMACEUTICALS CORP., a )
SCHERING-PLOUGH CORP., and )
SCHERING CORPORATION Ye

- Defendants. os )

DEPOSITION OF RICHARD A. FELDMAN, R.Ph.°

FRIDAY, 18 NOVEMBER, 2005

Henderson Legal Services
(202) 220-4158
Richard A. Feldman R.Ph. HIGHLY CONFIDENTIAL
Quincy, MA

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BAD O RWHP

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A. No.

Q. Did you have any input into contracting
during this time period? ,

A. Yes. .

Q. What kind of input would you provide?

A. Competitive information.

Q. And what kind of competitive information .
were you providing to. the contracts department —
well, were you providing?

A. Restate it again. —

Q. What kindof competitive pricing —
information were you providing?

A. Pricing, manufacturers, hearsay.

Q. I'm sorry, what was the last one?

A. Hearsay. ,

MR. COVAL: Objection.

_Q. And when you say, "hearsay," are you
referring to things that customers would tell you
or tell your representatives about various things?

A. Yes. - .

Q. Whether — and generally, that would be

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' this competitive information directly during one of.

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account directors or the individual that worked
underneath them?

A. Possibly, yes.

Q. And during this time period with Roxane,
were you calling directly on some wholesalers?
Were you going on a call -- were you going on sales
calls with some of your -- the employees that
worked underneath you?

A. Yes.

Q. So, it's possible you could get some of

those sales calls, correct?
It's possible.
How often did you go on these sales calls?
Intermittently.
Once a quarter or more often than that?
It varied.
Were you involved in pricing at t Roxane
during this time period?

A. No. a

Q. Were you involved in pricing to,the extent

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NO

“does that — what, does that mean to you?

competitive ‘information, what the competitors are
doing out there? .
A. Yes.

'Q. You mentioned’ manufacturers a asa type of
information you would provide to contracting. What

A. Manufacturers that would be coming out
_ with a product launch, same product.

Q. So, a type of information that you would
provide to the contracting department might be with
respect to new competition that might be coming out
with respect to drugs that Roxane already has on
the market?

A. Yes. a
Q. And then the other issue -- the other _
topic you mentioned for competitive information ‘was
pricing. And are you -- you're referring to
pricing of competitive products, is that right?
A: Yes.
Q. And how would you get that information?
A. Verbal, government awards.
~Q. Verbal. When you say, "verbal," do you

mean verbal from either your national or regional

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.. it was related to a specific.customer for contract

information about a particular wholesaler ~ if you |

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issues?

A. "Yes. ,
Q. For example, if you had competitive

had competitive information from one.of your
customer wholesalers about compétitive product - {
pricing, you would use that information or pass
that information on up to the contracting _
department to ensure that Roxane put out the best
or most competitive price?

A. Yes.

Q. Did you have any input on setting or
determining average wholesale price for Roxane's |fi
products?

A. No.

Q. Who set AWP at Roxane during this time
period, which is 1996 to 2004?

A. Marketing.

Q. And to the best of your recollection, who
was in the marketing department during that time
period?

A. J sudy Waterer and Lesli Paoletti I forget

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2 Q. And what Ww was’ is the title ~ — you Ww were -- = you.

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50 32 1h
1 how you spell it. a 1 started out as director of trade, is that t right?
2 Q. And were they both still there when you 2 A. Yes.
3 left in March of 2004? 3 Q. And what was your new title?
4 A. Yes. I'm not sure. 4 A. Executive director of trade and pharmacy
5 Q. And you're not sure because they were 5 affairs. -
6 still employed by Boehringer Ingelheim, but they — 6 °Q. Did you have any new job responsibilities
7 may have been in different positions, is that why? 7 ~=when you became executive director?
8 A, Tmnot sure on that. 8 A. The pharmacy affairs.
9 Q. Do you know if they were employed by 9 Q. And what does -- what were your new
10 Boehringer Ingelheim or Roxane when you left in 10 responsibilities with respect to pharmacy affairs?
11 March of 2004? 11 A. Professional associations andsome  ~*
12. ~A. Say that again. 12 educational programs. -
13 Q Doyou know if either of the -- do you | 13 Q. "Professional associations," do you mean
14 know if Judy or Lesli were still employed by Roxane | 14 professional associations that pharmacists might
15 or Boehringer Ingelheim when you left in March of |15 belong to?
16 2004? 16 A. Yes.
17 ~~ ~A. They were not. 17  Q. And would you, on occasion, have made
18 QQ. They were not. Do you know who they were 18 presentations or spoken to those types of
19 — where they went? 19 associations while you were with Roxane?
20 A. Ibelieve Bedford Labs. 20 A. No.
21° Q. Andit's Bedford Labs'~ is it your ‘21 Q. Did you attend professional association —
22 understanding that Bedford is in some way owned by | 22 _ meetings during this time period with Roxane? _ |} :
po : oe 51 . 531
1 Boehringer Ingelheim? 1l- A. Yes. /
2 A. Yes. - 2 ~ Q. Doyou recall situations ~ do you recall,
3 Q. Did you have any input on setting 3 while attending these meetings, that Medicare or
4 - wholesale acquisition costs for Roxane’ S products? 4 Medicaid reimbursement would be a topic for these . |f
5 A. No. 5 -at any of these meetings?
6 Q. Who had responsibility for determining 6 A. Yes. .
7 wholesale acquisition cost? 7 Q. Was that a common topic at-these meetings?
8 A. Marketing department. 8 A. Define "common" for me, I mean —
-9 (Q. And again, that would have been Judy 9 Q. Well, let me put it this way: You
10 Waterer and Lesli Paoletti during this time period? | 10 attended more than one of these meetings, correct?
11 OA. Yes. , 1i OAL Yes. ,
12  Q. Did they have other people working in the ‘12. Q. And would Medicare or Medicaid
‘13 marketing department; you just can't recall exactly 13 reimbursement have come up as a topic at more than '
14 who they were? 14. one of these meetings? _
15 A. Ibelieve so. 15 A. Yes. .
16  Q. ‘And did'you stay in the same position 16 = Q. So, based on all of your experience in the
17 during your entire career with Roxane i in Boehiringer | 17 industry, starting back when you graduated from
18 Ingelheim? 18 pharmacy school, and working up through your
‘19 A. Thadatitle change. 19 experience with Roxane, which, I think, takes us
20 —Q. And when was that? 20 through 2004, the reimbursement -- is it your
21 A. Idon't remember. 21 understanding that reimbursement is an important

issue to these retail phamniacists?

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_A. Not very long. I mean, it) was very

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1 litigation involved in this matter. So, ifyou 1 Q. The transition was very informal, is that
2 were -- recall ever seeiig any documents in those 2 what you mean?
3 contexts, then that would be privileged 3 A. Yes.
4 communication. But I think his question is outside | 4. Q. And Karen Strelau was the individual who
5 of those contexts, correct? 5 was essentially taking over the responsibilities
6 ' MR. GOLDENBERG: Correct. 6 that you may have had with respect to Roxane
7 A. I don't recall. 7 products, is that correct? .
8 Q. Do you still keep in contact with Mark 8 A. Yes. ©
9 Pope? 9 Q. Did Judy Waterer and Lesli Paoletti —-
10 A. Not fora long, long time. 10 well, let's start with -- did Judy Waterer
11 =Q Doyou know if he's still in the wine 11 transition to Boehringer Ingelheim in 2001?
12 business in California? 12. A. No.
13 A. I believe he is. J13 Q Did Judy Waterer transition to Bedford i in
14 ©Q Do you know the name of the company? 14 2001? t
15 A. Yes. 15 A. I don't remember if’ that was right away or {ff
16  Q. What's the name of the company? 16 not.
17 ~ OA, Bounty Hunters. 17 = Q. So, in 2001 did Roxane have a separate
18  Q. Bounty -- isit a wine company, Bounty 18 marketing department from Boehringer Ingelheim?
19 Hunters Wine Company? 19 A. Yes. |
20 =A I don't know how he classes" his company, |20 Q. Did -- prior to 2001, do you recall Roxane
21 but he sells wine and other stuff. 21 having any branded products?
22 Q What other -- do'you ‘know what other stuff 22 =A. Yes.
1 he sells other thian wine? . 1 Q. And what were the branded products?
2 A. ' Cigars, glassware, chachkis. I don't 2 A. Viramune, V-i-r-a-m-u-n-e, Roxicodone,
3 know. I don't know. 3° R-0-x-i-c-o-d-o-n-e, Oramorph, O-r-a-m-o-r-p-h. ff
4 Q. Is that chachkas or chachkis? 4 Q. Was Roxicet also a branded Roxane Product?
5 A. Let's check. I don'tknow. Iguessmore | 5 A. Yes. Ro-xi-c-et.
- 6 than one chachka is a chachki, right? I dont 6 Q. And Oramorph you mentioned. Was there —
7 know. 7 also a— is that separate from a product called
8 Q. Okay. So, in 2001 you transitioned to the | 8 Oramorph SR?
9 new-- -~ well, you transitioned to become a 9 A. No.
10 Boehringer Ingelheim: employee where youhad |10 Q. It's the same thing, in your mind?
11 responsibility only for BI branded d products, is ‘{11 A. Ithink it's the same thing.
12 thatright? . 112 Q Andis Oramorph a tablet or liquid or
13. A. Yes. 13 both?
14 .Q. Did you have any interaction after the 14 A. Geeze, I don't remember.
15 2001 time period with Roxane employees? 15  Q. It was an oral product, correct?
16 OAL None, you know -- no, from a business 16 360A. Yes.
17 standpoint. 17. Q. Were all of these branded products oral?
18  Q. Was there, like, a transition period? — 18 A. Yes.
19 A. Yes. 19° = Q. Were all of the multisource products that
20 Q. How long did that transition period last? 20 Roxane had oral as well?

A. Well, you've got to start defining “oral.”
Q. Were some ne injectabl based

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